                              NO. 07-10-00346-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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SEPTEMBER 21, 2010
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                              IN RE: JASON MIEARS
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
On August 31, 2010, relator Jason Miears filed a "writ of prohibition" in this court.  By the pleading, he seeks an order compelling respondent, the Honorable Ron Rangel Judge of the 379th Judicial District Court of Bexar County, to transfer venue in an underlying criminal case.  Miears otherwise asserts he was indicted in the wrong county.  
	In a number of ways, the pleading Miears filed does not meet the requirements for a petition in an original proceeding.  Tex. R. App. P. 52.3.  That aside, Miears' petition is not accompanied by a record demonstrating a basis for this court's jurisdiction.  Tex. R. App. P. 52.7.  Based on the content of Miears' unsworn pleading, we conclude we lack jurisdiction over Judge Rangel.  Bexar County, in which Judge Rangel sits, is not located within our court of appeals district.  See Tex. Gov't Code Ann. § 22.221(b) (Vernon 2004) (power to issue writ of mandamus extends to a judge of a district or county court in the court of appeals district); Tex. Gov't Code Ann. § 22.201(e),(h) (Vernon Supp. 2009) (Bexar County is included in Fourth Court of Appeals District; Seventh Court of Appeals District does not include Bexar County).
	Because we lack jurisdiction of this original proceeding, it is dismissed.

Per Curiam


Do not publish.

